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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 SECURITIES AND EXCHANGE
 COMMISSION,
                                                        Civil Action No. 1:23-cv-01599-ABJ
                        Plaintiff,

        v.

 BINANCE HOLDINGS LIMITED, et al.,

                        Defendants.


                    DECLARATION OF ANDREW RHYS DAVIES
              IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       I, Andrew Rhys Davies, hereby declare and state as follows:

       1.      I submit this declaration in support of the motion of Matthew T. Martens for my

admission to practice pro hac vice in the above captioned matter.

       2.      My full name is Andrew Rhys Davies. I am an attorney of the law firm Wilmer

Cutler Pickering Hale & Dorr LLP, 7 World Trade Center, 250 Greenwich Street, New York, NY

10007. My telephone number is (212) 230-8800.

       3.      I am a member in good standing of the New York bar, and of the bars of the United

States Supreme Court, U.S. Court of Appeals for the Second Circuit, U.S. Court of Appeals for

the Fifth Circuit, U.S. Court of Appeals for the Sixth Circuit, U.S. Court of Appeals for the Eighth

Circuit, U.S. Court of Appeals for the Ninth Circuit, U.S. Court of Appeals for the Eleventh

Circuit, U.S. Court of Appeals for the Federal Circuit, U.S. District Court for the Southern District

of New York, U.S. District Court for the Eastern District of New York, United States Court of

Federal Claims, and U.S. Bankruptcy Court for the Southern District of New York.

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